                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
                                                   )
v.                                                 )      Criminal No. 3:13-00057
                                                   )      Judge Trauger
                                                   )
DASHAWN LLOYD                                      )

                                             ORDER

         It is hereby ORDERED that the change of plea and sentencing hearing scheduled for

June 17, 2014 at 10:30 a.m. is RESET for the same day at 2:00 p.m.

         It is so ORDERED.

         Enter this 11th day of June 2014.



                                                   ___________________________________
                                                           ALETA A. TRAUGER
                                                         United States District Judge




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